
PER CURIAM
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent was arrested and charged with driving under the influence of alcohol. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Connie M. Easterly, a/k/a Connie M. Eversberg, Louisiana Bar Roll number 26278, be suspended from the practice of law for a period of one year and one day, retroactive to January 8, 2019, the date of her interim suspension.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty *1024days from the date of finality of this court's judgment until paid.
